EXHIBIT A
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                                           SUMMONS
                                                                                                          e                                           SUM-100
                                                                                                                         FOR COURT USE ONLY
                                    (CITACION JUDICIAL),                                                             (SOLO PARA USO OE LA CORTE)

NOTICE TO DEFENDANT: THE WEINSTEIN COMPANY LLC, a
{AV/SO AL DEMANDADO): Corp. ; THE WEINSTEIN COMPANY
HOLDINGS LLC, a Corp.; HARVEY WEINSTEIN, an
Individual; and DOES 1 through 25, inclusive                                                                                FILED
                                                                                                                Superior tourt of California
                                                                                                                    County of Los Angeles

                                                                                                                        NOV 1° 4 2017
                               JANE DOE, an Individual
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTEJ:                                                                       Sherridtcr, l~fficer/Clerk
                                                                                                           By •             •     · "'          · , Deputy
                                                                                                                        Moses Soto
· NOTICEI You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
  may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (www.Jawhelpcalifomia.org), the California Courts Online Self-Help Center
  (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
  1A VISO/ Lo han demandado. Si no responde dentro de 30 dfas, la carte puede decidir en su contra sin escuchar su versi6n. Lea la informaci6n a
  continuaci6n
    Tiene 30 DIAS DE CALENDAR/0 despues de que le entreguen esta citac/6n y papeles legales para presentar una respuesta por escrito en esta
  carte y hacer que se entregue una copia al demandante. Una carts o una llamada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
  en formato legal correcto si desea que procesen su caso en la carte. Es posible que haya un formulario que usted pueda usar para su respuesta.
  Puede encontrar estos formularios de la carte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
  biblioteca de /eyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la carte
  que le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la carte le
  podra quitar su sue/do, dinero y blenes sin mas advertencla.
    Hay otros requisitos legales. Es recomendable qua llame a un abogado inmediatamente. Si no conoce a un abogado, puede llama, a un servicio de
  remisi6n a abogados. Si no puede pagar a un abogado, es posible que cump/a con /os requisitos para obtener servicios legales gratuitos de un
  programs de servicios legales sin fines de /ucro. Puede encontrar estos grupos sin fines de /ucro en el sitio web de California Legal Services,
  (www.lawhelpcalifornia.org), an el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.govJ o poniendose en contacto con la carte o el
  colegio de abogados locales. AV/SO: Por fey, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
  cua/quier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
  pager el gravamen de la carte antes de qua la carte pueda desechar el caso.
   e name an a ress o e cou 1s:                                                                          CASE NUMBER:
(El nombre y direcci6n de la corte es):                                                                  (NumerodelCasoJ:
LOS ANGELES SUPERIOR COURT
111 N. HILL STREET
LOS ANGELES, CA 90012.
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre, la direcci6n y el numero de telefono def abogado def demandante, o def demandante que no tiene abogado, es):
GLORIA ALLRED, ESQ.; SBN: 65033                            323-653-6530      323-653-1660
ALLRED, MAROKO & GOLDBERG
6300 Wilshire Blvd., Suite 1500
LOS ANG~~P, ~~q048
                                                                   1-~
                                                                 ~ M.Soto
                                                                                              4.
DATE:   ~U\f "t lUII        sHERRIR,CARTER Clerk, by_.;;..._ _ _ _ _ _ _ _ _ _ _ _ _ _ , Deputy
(Fecha)                                                                       (Secretario)                                                             (Adjunto)




                                      3.   D    on behalf of {specify):

                                           under:   D   CCP 416.10 (corporation)                            D     CCP 416.60 (minor)
                                                    D   CCP 416.20 (defunct corporation)                    D     CCP 416.70 (conservatee)
                                                    D   CCP 416.40 (association or partnership)             D     CCP 416.90 (authorized person)
                                                    D   other (specify):
  \)
     ·"                               4.   D    by personal delivery on (date):                                                                          Page 1 of 1
Fci_~Adopted for Mandatory Use                                         SUMMONS                                                  Code of Civil Procedure§§ 412.20, 465
  Jll£licial Council of Califomla
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 S°l)M-100 (Rev. July 1, 2009)
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